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                       EXHIBIT 8
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                                     CARING FOR A
                                     BABY WITH NAS
                MMecx OF DINES




                                            WHAT ARE THE SIGNS
                                            AND SYMPTOMS
                                            OF NAS?
                                 Babies born with neonatal abstinence
                                 syndrome (also called NAS) can have
                                 health problems at birth and may
                                 need treatment in a hospital. They
                 may have low birthweight and jaundice (when the
                 eyes and skin look yellow). They also may have signs
                 and symptoms like:
                   Problems with breathing, feeding and sleeping
                   Being fussy, crying a lot and having a
                   high-pitched cry
                       Body shakes and seizures
                       Fever

                  As they grow older, children who had NAS may have
                  problems with speech, language and learning. They
                  may need early intervention services to help them
                  learn to walk, talk and interact with others.


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                  NAS is a group of conditions causedror
                  a baby withdraws from certain drugs he's
                  exposed to in the womb before birth. NAS
                  most oftéñ happy e nos when a baby's mother
                  takes opioids during pregnancy.


                  CARING FOR A BABY WITH NAS
                  1.    After birth, your baby may need to
                        stay in the hospital for treatment.
                  2. Make sure your baby gets ongoing
                     care from a health care provider. Don't
                     try to treat NAS on your own.
                  3. Try these things to help calm your baby:
                     Keep your baby's room quiet and the lights dim.
                         Give your baby skin -to -skin care. Put your baby
                          only in a diaper and lay him on your bare chest.
                            If possible, breastfeed your baby.
                         Read to your baby.
                  4. Always put your baby on his back to sleep
                      to reduce the risk of sudden infant death
                         syndrome (also called SIDS).
                  5.     If you're worried about your baby's development,
                         tell her provider. Ask about early intervention
                         services. To find services, visit: cdc.gov/ncbddd/
                         actearly


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